                                         Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 1 of 15




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                                   8                               UNITED STATES DISTRICT COURT
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                                                                  NORTHERN DISTRICT OF CALIFORNIA
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                                                                         SAN JOSE DIVISION
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                                  12    UNITED STATES,                               Case No. 15-CR-00236-LHK-1
Northern District of California
 United States District Court




                                  13                 Plaintiff,                      PRELIMINARY JURY INSTRUCTIONS
                                  14           v.

                                  15    ERIC POTRATZ,
                                  16                 Defendant.

                                  17

                                  18
                                  19   Dated: August 10, 2017

                                  20                                            ______________________________________
                                                                                LUCY H. KOH
                                  21                                            United States District Judge
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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                         Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 2 of 15




                                   1                                      JURY INSTRUCTION NO. 1

                                   2                                          RE: DUTY OF JURY

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                                   4          Jurors: You now are the jury in this case, and I want to take a few minutes to tell you

                                   5   something about your duties as jurors and to give you some preliminary instructions. At the end of

                                   6   the trial I will give you more detailed instructions that will control your deliberations. When you

                                   7   deliberate, it will be your duty to weigh and to evaluate all the evidence received in the case and,

                                   8   in that process, to decide the facts. To the facts as you find them, you will apply the law as I give it

                                   9   to you, whether you agree with the law or not. You must decide the case solely on the evidence

                                  10   and the law before you and must not be influenced by any personal likes or dislikes, opinions,

                                  11   prejudices, or sympathy. Please do not take anything I may say or do during the trial as indicating

                                  12   what I think of the evidence or what your verdict should be – that is entirely up to you.
Northern District of California
 United States District Court




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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                         Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 3 of 15




                                   1                                      JURY INSTRUCTION NO. 2

                                   2                  RE: THE CHARGE – THE PRESUMPTION OF INNOCENCE

                                   3

                                   4          This is a criminal case brought by the United States government. The government charges

                                   5   Mr. Potratz by indictment with five counts: Distribution of Anabolic Steroids; Introduction of a

                                   6   Misbranded Drug Into Interstate Commerce; Introduction of Unapproved New Drug Into Interstate

                                   7   Commerce; Misbranding a Drug While Held for Sale; and Failure to Register a Drug

                                   8   Establishment. The indictment is simply the description of the charge made by the government

                                   9   against Mr. Potratz; it is not evidence of anything.

                                  10          The defendant has pleaded not guilty to the charges and is presumed innocent unless and

                                  11   until the government proves the defendant guilty beyond a reasonable doubt. In addition, the

                                  12   defendant has the right to remain silent and never has to prove innocence or to present any
Northern District of California
 United States District Court




                                  13   evidence.

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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                         Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 4 of 15




                                   1                                    JURY INSTRUCTION NO. 3

                                   2                                     RE: WHAT IS EVIDENCE

                                   3

                                   4         The evidence you are to consider in deciding what the facts are consists of:

                                   5         (1) the sworn testimony of any witness; and

                                   6         (2) the exhibits which are received in evidence; and

                                   7         (3) any facts to which the parties agree.

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Northern District of California
 United States District Court




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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                         Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 5 of 15




                                   1                                       JURY INSTRUCTION NO. 4

                                   2                                      RE: WHAT IS NOT EVIDENCE

                                   3

                                   4          The following things are not evidence, and you must not consider them as evidence in

                                   5   deciding the facts of this case:

                                   6          (1)     statements and arguments of the attorneys;

                                   7          (2)     questions and objections of the attorneys;

                                   8          (3)     testimony that I instruct you to disregard; and

                                   9          (4)     anything you may see or hear when the court is not in session even if what you see

                                  10   or hear is done or said by one of the parties or by one of the witnesses.

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Northern District of California
 United States District Court




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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                         Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 6 of 15




                                   1                                     JURY INSTRUCTION NO. 5

                                   2                       RE: DIRECT AND CIRCUMSTANTIAL EVIDENCE

                                   3

                                   4          Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact, such as

                                   5   testimony by a witness about what that witness personally saw or heard or did. Circumstantial

                                   6   evidence is indirect evidence, that is, it is proof of one or more facts from which one can find

                                   7   another fact.

                                   8          You are to consider both direct and circumstantial evidence. Either can be used to prove

                                   9   any fact. The law makes no distinction between the weight to be given to either direct or

                                  10   circumstantial evidence. It is for you to decide how much weight to give to any evidence.

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Northern District of California
 United States District Court




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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                         Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 7 of 15




                                   1                                      JURY INSTRUCTION NO. 6

                                   2                                   RE: RULING ON OBJECTIONS

                                   3

                                   4          There are rules of evidence that control what can be received in evidence. When a lawyer

                                   5   asks a question or offers an exhibit in evidence and a lawyer on the other side thinks that it is not

                                   6   permitted by the rules of evidence, that lawyer may object. If I overrule the objection, the question

                                   7   may be answered or the exhibit received. If I sustain the objection, the question cannot be

                                   8   answered, or the exhibit cannot be received. Whenever I sustain an objection to a question, you

                                   9   must ignore the question and must not guess what the answer would have been.

                                  10          Sometimes I may order that evidence be stricken from the record and that you disregard or

                                  11   ignore the evidence. That means that when you are deciding the case, you must not consider the

                                  12   evidence that I told you to disregard.
Northern District of California
 United States District Court




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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                          Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 8 of 15




                                   1                                       JURY INSTRUCTION NO. 7

                                   2                                 RE: CREDIBILITY OF WITNESSES

                                   3

                                   4            In deciding the facts in this case, you may have to decide which testimony to believe and

                                   5   which testimony not to believe. You may believe everything a witness says, or part of it, or none

                                   6   of it.

                                   7            In considering the testimony of any witness, you may take into account:

                                   8            (1)    the witness=s opportunity and ability to see or hear or know the things testified to;

                                   9            (2)    the witness=s memory;

                                  10            (3)    the witness=s manner while testifying;

                                  11            (4)    the witness=s interest in the outcome of the case, if any;

                                  12            (5)    the witness=s bias or prejudice, if any;
Northern District of California
 United States District Court




                                  13            (6)    whether other evidence contradicted the witness=s testimony;

                                  14            (7)    the reasonableness of the witness=s testimony in light of all the evidence; and

                                  15            (8)    any other factors that bear on believability.

                                  16

                                  17            The weight of the evidence as to a fact does not necessarily depend on the number of

                                  18   witnesses who testify about it. What is important is how believable the witnesses are, and how

                                  19   much weight you think their testimony deserves.

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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                         Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 9 of 15




                                   1                                      JURY INSTRUCTION NO. 8

                                   2                                    RE: CONDUCT OF THE JURY

                                   3

                                   4          I will now say a few words about your conduct as jurors.

                                   5          First, keep an open mind throughout the trial, and do not decide what the verdict should be

                                   6   until you and your fellow jurors have completed your deliberations at the end of the case.

                                   7          Second, because you must decide this case based only on the evidence received in the case

                                   8   and on my instructions as to the law that applies, you must not be exposed to any other

                                   9   information about the case or to the issues it involves during the course of your jury duty. Thus,

                                  10   until the end of the case or unless I tell you otherwise:

                                  11          Do not communicate with anyone in any way and do not let anyone else communicate with

                                  12   you in any way about the merits of the case or anything to do with it. This includes discussing the
Northern District of California
 United States District Court




                                  13   case in person, in writing, by phone or electronic means, via email, text messaging, or any Internet

                                  14   chat room, blog, website or application, including but not limited to Facebook, Youtube, Twitter,

                                  15   Instagram, LinkedIn, Snapchat, or any other forms of social media. This applies to communicating

                                  16   with your fellow jurors until I give you the case for deliberation, and it applies to communicating

                                  17   with everyone else including your family members, your employer, the media or press, and the

                                  18   people involved in the trial, although you may notify your family and your employer that you have

                                  19   been seated as a juror in the case. But, if you are asked or approached in any way about your jury

                                  20   service or anything about this case, you must respond that you have been ordered not to discuss

                                  21   the matter and to report the contact to the court.

                                  22          Because you will receive all the evidence and legal instruction you properly may consider

                                  23   to return a verdict: do not read, watch, or listen to any news or media accounts or commentary

                                  24   about the case or anything to do with it; do not do any research, such as consulting dictionaries,

                                  25   searching the Internet or using other reference materials; and do not make any investigation or in

                                  26   any other way try to learn about the case on your own.

                                  27          The law requires these restrictions to ensure the parties have a fair trial based on the same

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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                         Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 10 of 15




                                   1   evidence that each party has had an opportunity to address. A juror who violates these restrictions

                                   2   jeopardizes the fairness of these proceedings, and a mistrial could result that would require the

                                   3   entire trial process to start over. If any juror is exposed to any outside information, please notify

                                   4   the court immediately.

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Northern District of California
 United States District Court




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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                         Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 11 of 15




                                   1                                      JURY INSTRUCTION NO. 9

                                   2                           RE: NO TRANSCRIPT AVAILABLE TO JURY

                                   3

                                   4          At the end of the trial you will have to make your decision based on what you recall of the

                                   5   evidence. You will not have a written transcript of the trial. I urge you to pay close attention to the

                                   6   testimony as it is given.

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Northern District of California
 United States District Court




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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                        Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 12 of 15




                                   1                                    JURY INSTRUCTION NO. 10

                                   2                                        RE: TAKING NOTES

                                   3

                                   4          If you wish, you may take notes to help you remember the evidence. If you do take notes,

                                   5   please keep them to yourself until you and your fellow jurors go to the jury room to decide the

                                   6   case. Do not let note-taking distract you from being attentive. When you leave court for recesses,

                                   7   your notes should be left in the courtroom. No one will read your notes.

                                   8          Whether or not you take notes, you should rely on your own memory of the evidence.

                                   9   Notes are only to assist your memory. You should not be overly influenced by your notes or those

                                  10   of your fellow jurors.

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Northern District of California
 United States District Court




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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                        Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 13 of 15




                                   1                                    JURY INSTRUCTION NO. 11

                                   2                                      RE: OUTLINE OF TRIAL

                                   3

                                   4          The next phase of the trial will now begin. First, each side may make an opening

                                   5   statement. An opening statement is not evidence. It is simply an outline to help you understand

                                   6   what that party expects the evidence will show. A party is not required to make an opening

                                   7   statement.

                                   8          The government will then present evidence and counsel for the defendant may

                                   9   cross-examine. Then, if the defendant chooses to offer evidence, counsel for the government may

                                  10   cross-examine.

                                  11          After the evidence has been presented, I will instruct you on the law that applies to the case

                                  12   and the attorneys will make closing arguments.
Northern District of California
 United States District Court




                                  13          After that, you will go to the jury room to deliberate on your verdict.

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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                        Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 14 of 15




                                   1                                      JURY INSTRUCTION NO. 12

                                   2                        RE: CAUTIONARY INSTRUCTIONCFIRST RECESS

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                                   4            We are about to take our first break. Remember, until the trial is over, do not discuss this

                                   5   case with anyone, including your fellow jurors, members of your family, people involved in the

                                   6   trial, or anyone else, and do not allow others to discuss the case with you. This includes discussing

                                   7   the case in Internet chat rooms or through Internet blogs, Internet bulletin boards, emails or text

                                   8   messaging. If anyone tries to communicate with you about the case, please let me know about it

                                   9   immediately. Do not read, watch, or listen to any news reports or other accounts about the trial or

                                  10   anyone associated with it, including any online information. Do not do any research, such as

                                  11   consulting dictionaries, searching the Internet or using other reference materials, and do not make

                                  12   any investigation about the case on your own. Finally, keep an open mind until all the evidence
Northern District of California
 United States District Court




                                  13   has been presented and you have heard the arguments of counsel, my instructions on the law, and

                                  14   the views of your fellow jurors.

                                  15            If you need to speak with me about anything, simply give a signed note to the clerk to give

                                  16   to me.

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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
                                         Case 5:15-cr-00236-LHK Document 117 Filed 08/10/17 Page 15 of 15




                                   1                                    JURY INSTRUCTION NO. 13

                                   2                          RE: BENCH CONFERENCES AND RECESSES

                                   3

                                   4           From time to time during the trial, it may become necessary for me to take up legal matters

                                   5   with the attorneys privately, either by having a conference at the bench or, when necessary, by

                                   6   calling a recess.

                                   7           We will do what we can to keep the number and length of these conferences to a minimum.

                                   8   I may not always grant an attorney=s request for a conference.

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Northern District of California
 United States District Court




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                                       Case No. 15-CR-00236-LHK-1
                                       PRELIMINARY JURY INSTRUCTIONS
